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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )             8:05CR167
                     Plaintiff,                    )
                                                   )
       vs.                                         )             ORDER
                                                   )
JUAN FIGUEROA-VALDEZ,                              )
                                                   )
                     Defendant.                    )
       This matter is before the court on the motion to continue by defendant Juan Figueroa-
Valdez (Figueroa-Valdez) (Filing No. 26). Figueroa-Valdez seeks additional time in which
to prepare for trial. Figureroa's counsel represents that counsel for the government has no
objection to the motion. Figueroa-Valdez has submitted an affidavit in accordance with
paragraph 9 of the progression order whereby Figueroa-Valdez consents to the motion and
acknowledges he understands the additional time may be excludable time for the purposes
of the Speedy Trial Act (Filing No. 27). Upon consideration, the motions will be granted.
       IT IS ORDERED:
       1.     Figueroa-Valdez's motion to continue trial (Filing No. 26) is granted.
       2.     Trial of this matter is re-scheduled for October 3, 2005, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such motions
and outweigh the interests of the public and the defendants in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between August 22, 2005
and October 3, 2005, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason that defendants' counsel require
additional time to adequately prepare the case. The failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 22nd day of August, 2005.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
